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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                       Case No. 1:20-cv-20970-RS

 PAYRANGE, INC.                                       )
                                                      )
                  Plaintiff,                          )
                                                      )
 v.                                                   )
                                                      )
 KIOSOFT TECHNOLOGIES, LLC and                        )
 TECHTREX, INC.,                                      )
                                                      )
                  Defendants.                         )
                                                      )

       PLAINTIFF PAYRANGE, INC.’S RESPONSE TO DEFENDANTS’ MOTION FOR
         LEAVE TO FILE AMENDED ANSWER, AFFIRMATIVE DEFENSES, AND
                              COUNTERCLAIMS

           Plaintiff PayRange Inc. (“PayRange”), through counsel, opposes Defendants KioSoft

 Technologies, LLC’s and Techtrex Inc.’s (“Defendants’”) Motion for Leave to File Amended

 Answer, Affirmative Defenses, and Counterclaims.

           It is well-established that “[d]enial of leave to amend is justified by futility when the

 ‘[pleading] as amended is . . . subject to dismissal.’” Burger King Corp. v. Weaver, 169 F.3d

 1310, 1320 (11th Cir. 1999) (citation omitted). Defendants’ Motion should, therefore, be denied

 given that Defendants’ baseless CFAA counterclaim does not meet the Iqbal pleading standard,

 and Defendants’ defamation per se counterclaim is barred by the litigation privilege. Fed R. Civ.

 P. 8(a)(2).

      I.   Defendants’ proposed CFAA counterclaim is futile.

           Defendants’ proposed CFAA counterclaim fails to state a claim under Iqbal and is thus

 futile. “To survive a motion to dismiss,” a counterclaim “must contain sufficient factual matter,

 accepted as true, to . . . allow[] the court to draw the reasonable inference that the [counterclaim-
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 ]defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

 Defendants’ lone allegation connecting PayRange to the alleged violation of the CFAA is a

 “mere conclusory statement[]” and as such is not “accepted as true” under Iqbal. Id. And the

 remainder of the allegations in the counterclaim are entirely consistent with the “obvious

 alternative explanation” that PayRange had nothing to do with the alleged hack. Id. at 682.

        Deciding whether a complaint is sufficient under Iqbal is a two-step process. First, the

 Court “eliminate[s] any allegations in [the pleading] that are merely legal conclusions.” Am.

 Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1290 (11th Cir. 2010). “Threadbare recitals of the

 elements of a cause of action, supported by mere conclusory statements,” are thus ignored. Iqbal,

 556 U.S. at 678. Second, the Court decides whether the remaining factual allegations “raise a

 right to relief above the speculative level.” Bell Atl. Corp v. Twombly, 550 U.S. 544, 555 (2007).

 If a pleading’s well-pleaded allegations are susceptible to “obvious alternative explanations,

 which suggest lawful conduct rather than the unlawful conduct the [counterclaim-]plaintiff

 would ask the court to infer,” the pleading is subject to dismissal. Am. Dental, 605 F.3d at 1290

 (citation omitted).

        The “elements a [counterclaim-]plaintiff must plead to state a claim,” Iqbal, 556 U.S. at

 675, under the CFAA include: “knowingly and with intent to defraud, access[ing] a protected

 computer without authorization, or exceed[ing] authorized access, and by means of such conduct

 further[ing] the intended fraud and obtain[ing] anything of value.” 18 U.S.C. § 1030(a)(4).

        Here, paragraphs 46, 124-126, and 128 of defendants’ proposed counterclaim are the only

 ones that come close to suggesting that PayRange might have violated the CFAA, and all fail

 Iqbal step one. D.I. 39-1. To start, paragraphs 124-126 and 128 are “legal conclusions” that

 “provide the framework of a complaint” but do not support its factual sufficiency, Iqbal, 556


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 U.S. at 679, since none include any facts supporting the assertion that PayRange’s conduct met

 the elements of the cause of action. Paragraph 46 fares no better: it recites that “[u]pon

 information and belief, Mr. Patel instructed PayRange employees and/or a third party to gain

 access to KioSoft’s devices in an effort to convince KioSoft’s customers that KioSoft has a

 security problem.” This allegation is vague, in part because “access to KioSoft’s devices” admits

 of multiple meanings, and it lacks any specificity about who was so instructed, when, or what the

 substance of the instruction was. This allegation is thus a “threadbare recital” of the access

 element of the CFAA claim and is not “accepted as true.” Iqbal, 556 U.S. at 678.

        The remaining allegations are insufficient under Iqbal step two. The Supreme Court’s

 decision in Twombly is on point. Like the counterclaim here, the allegations in the complaint at

 issue in Twombly involved a bare, conclusory allegation of conspiracy and well-pleaded facts

 supporting “parallel conduct.” 550 U.S. at 556. Holding that “an allegation of parallel conduct

 and a bare assertion of conspiracy will not suffice,” the Court held the complaint deficient under

 Rule 8. Id. at 556-57. The vaguely “parallel conduct” at issue here—PayRange’s alleged

 marketing based on the comparative security of its platform, and an unknown hacker’s efforts to

 gain access to KioSoft’s systems—is not “suggestive of illegal conduct” by PayRange and is

 susceptible to the “obvious alternative explanation” that the alleged hack was not performed at

 the direction or behest of PayRange. Id. at 563 n.8, 567.

        Indeed, even if the Court were to read Defendants’ conclusory and baseless allegation in

 paragraph 46 as other than a bare recital of an element of the claim, the counterclaim would still

 be deficient. Paragraph 46 alleges that PayRange’s CEO instructed one or more unspecified

 persons “to gain access to KioSoft’s devices,” and paragraphs 47 and 54 allege that a “hacker

 gained access to and downloaded” KioSoft’s customers’ user data. The counterclaim does not


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 bridge the gap: there is no allegation that the hacker who allegedly breached KioSoft’s security

 was acting on PayRange’s direction, or that PayRange “instructed PayRange employees and/or a

 third party” to gain unauthorized access to KioSoft’s protected computers. Numerous benign

 activities might fit within an instruction to “gain access to KioSoft’s devices in an effort to

 convince KioSoft’s customers that KioSoft has a security problem,” such as, by way of example,

 inspecting a physical CleanReader terminal or CleanPay kiosk to determine how easily an

 attacker could compromise the device by inserting malicious hardware, for purposes of sharing

 that information with KioSoft’s customers. Further, there is no allegation that PayRange’s

 employees actually gained access to anything, just that they attempted to do so. The well-

 pleaded allegations in the counterclaim are not “suggestive of illegal conduct,” do not “raise a

 right to relief above the speculative level,” and thus are insufficient. Twombly, 550 U.S. at 555,

 563 n.8.

     II.   Defendants’ proposed defamation per se counterclaim is futile.

           A pleading is also “subject to dismissal,” Burger King Corp., 169 F.3d at 1320, when it

 indicates on its face that no relief is warranted, e.g., because the claim is clearly barred by a

 privilege. In Florida,1 “the torts of perjury, libel, slander, defamation, and similar proceedings

 that are based on statements made in connection with a judicial proceeding are not actionable.”

 Levin, Middlebrooks, Mabie, Thomas, Mayes & Mitchell, P.A. v. U.S. Fire Ins. Co., 639 So. 2d

 606, 608 (Fla. 1994); see also LatAm Invs., LLC v. Holland & Knight LLP, 88 So. 3d 240, 245

 (Fla. Dist. Ct. App. 2011) (“While the litigation privilege is an affirmative defense, it can be

 adjudicated on a motion to dismiss if the applicability of the privilege can be clearly discerned



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  Florida law applies because, as the forum for the litigation that the allegedly defamatory statements concern,
 Florida has the “most significant relationship . . . to the occurrence and the parties.” Restatement (2d) of Conflicts of
 Laws § 150.

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 from the face of the complaint.”) (citations omitted). The litigation privilege bars defendants’

 proposed defamation per se counterclaim, so leave to amend would be futile.

        Defendants plead four publications of a single statement that they allege is defamatory,

 but it is apparent from the face of the proposed-amended counterclaim that each publication is

 protected by the litigation privilege. The allegation in PayRange’s complaint that Defendants

 willfully infringed the patents-in-suit was clearly made “in connection with a judicial

 proceeding,” Levin, 639 So. 2d at 608, and the privilege protects “statements,” not merely the

 first instance of publication. Id. Each of the publications of the statement that Defendants

 complain of occurred after the filing of the suit, as the counterclaim acknowledges, and each

 repeated the allegation of willful infringement made in PayRange’s complaint. Under these

 circumstances, the allegedly defamatory statement is protected by the litigation privilege, and

 Defendants’ proposed amendment would be futile.

                                              * * *

        For the foregoing reasons, Defendants’ Motion for Leave to File Amended Answer,

 Affirmative Defenses, and Counterclaims should be denied.




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 Dated: September 3, 2020                   Respectfully submitted,



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                                   CERTIFICATE OF SERVICE


        I hereby certify that on September 3, 2020, the foregoing document was electronically

 filed with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is

 being served this day on all counsel of record on the attached Service List in the manner

 specified, either via transmission of Notices of Electronic Filing generated by CM/ECF or in

 some other authorized manner for those counsel or parties who are not authorized to receive

 electronically Notices of Electronic Filing.

                                                /s/ Joseph R. Englander
                                                Joseph R. Englander




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                                       SERVICE LIST
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                           CASE NO. 20-CV-20970-RS

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